          Case 1:11-cv-00696-RLW Document 8 Filed 04/08/11 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JOHN DOE,

                            Plaintiff,
                       v.
                                                   Civil Action No. 11-CV-696 (RLW)
GEORGE WASHINGTON UNIVERSITY,

                            Defendant.




                                              ORDER

       Having considered Plaintiff’s Emergency Motion for a Temporary Restraining Order and

Preliminary Injunction, it is this 8th day of April, 2011, ORDERED that:

       Plaintiff’s request for a temporary restraining order is hereby GRANTED pending

response from the Defendant. This Court finds it necessary to maintain the status quo based on

Plaintiff’s preliminary showing of a likelihood of success on the merits on his breach of contract

claim, as well as the potential for irreparable harm to Plaintiff if he is suspended from the

University and evicted from campus housing. See Coulter v. East Stroudsburg Univ., No. 310-

cv-0877, 2010 WL 1816632, at *3 (M.D. Pa. May 5, 2010) (finding student who faced

suspension from school during academic year met burden of showing irreparable harm).

Although the public interest to maintain campus safety might arguably tilt in Defendant’s favor,

Defendant has protected that interest by imposing a stay away order upon Plaintiff. 1 Moreover,

the balance of hardships tips in favor of Plaintiff, who apparently would suffer substantial

disruptions to his housing and academic program without an order maintaining the status quo,


1     As Plaintiff points out in his Motion, Defendant imposed no other restrictions on his
conduct or activities other than an order to stay away from his accuser.
           Case 1:11-cv-00696-RLW Document 8 Filed 04/08/11 Page 2 of 2



while Defendant, on the other hand, would suffer minimal to no hardship. As such, this Court

orders that the status quo be maintained pending Defendant’s response and further briefing. It is,

        FURTHER ORDERED that the parties appear for a Status Conference on Monday, April 11,

2011 at 2:00 p.m. in Courtroom 17 before Judge Robert L. Wilkins; and it is

        FURTHER ORDERED that, prior to the Status Conference, the parties are directed to meet

and confer regarding a briefing schedule for Plaintiff’s Emergency Motion for a Temporary Restraining

Order and Preliminary Injunction and whether there is a need for an evidentiary hearing—and if so,

potential dates for a hearing; and it is

        FURTHER ORDERED that counsel for Plaintiff shall serve a copy of this Order by

electronic mail and/or facsimile upon counsel for Defendant forthwith.

SO ORDERED.

Date: April 8, 2011                                               /s/
                                                       ROBERT L. WILKINS
                                                       United States District Judge




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